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                                          PROPOSED ORDER/COVER SHEET

 TO:            Honorable Nandor J. Vadas                                     RE:        Jacob HINES
                U.S. Magistrate Judge

 FROM:          Claudette M. Silvera, Chief                                   DOCKET NO.:           CR06-00329 JSW-3
                U.S. Pretrial Services Officer

 DATE:          July 24, 2006

           THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Victoria Gibson                                                      510-637-3752
         U.S. Pretrial Services Officer                                         TELEPHONE NUMBER

RE:      MODIFICATION OF CONDITIONS (OR INFORMATION/VIOLATION)

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that we may
comply with your instructions.

        I have reviewed the information that you have supplied. I do not believe that this matter
        requires any action by this Court at this time.

        Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ___________________ on _____________________________ at ________________________.

        Inform all parties concerned that a Bail Review Hearing will be conducted by:
        Magistrate Judge_______________________ Presiding District Court Judge______________________

        I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s Pretrial
        Release conditions as indicated below:

        Modification(s)

        A.

        B.

        Bail Revoked/Bench Warrant Issued.

        I am returning the signed order and direct that a copy be provided to the Court file and all interested parties(AUSA
        and Defense Counsel).

        Other Instructions:




                                                                                      7/31/06
         JUDICIAL OFFICER                                                        DATE



Cover Sheet (12/03/02)
